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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division




 HEATHER GIBSON,

                        Plaintiff,

         V.                                                   Case No. l:18-cv-339-LO-JFA


 ONLY CHOICE HOME HEALTH CARE
 AGENCY,LLC,et aL,

                        Defendants.


                                            ORDER


       This matter comes before the Court on the Report and Recommendation(R&R)of United

States Magistrate Judge John F. Anderson, dated November 16, 2018 (Dkt. 18), on Plaintiffs

Motion for Default Judgment(Dkt. 12). Defendants did not object to the R&R. The Court has

reviewed the Complaint, Plaintiffs Memorandum in Support of the Motion for Default

Judgment(Dkt. 14), and the supporting documents, and finds good cause to ADOPT the

findings and recommendations of Judge Anderson.

       Accordingly, for the reasons cited by Judge Anderson and for good cause shown,

Plaintiffs Motion for Default Judgment is GRANTED. The Clerk of Court is instructed to enter

judgment pursuant to Fed. R. Civ. P. 55 in favor of Plaintiff Heather Gibson and against

Defendants Only Choice Home Health Care Agency, LLC, and Beverly Ann McNairy in the

amount of $50,850.70 ($20,910.75 in unpaid and overtime wages + $20,910.75 in liquidated

damages + $8,312.50 in attorney's fees + $716.70 in costs).



December      ,2018                                           Liam O'Grady
Alexandria, Virginia                                          United States District Judge
